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IN TH:E: UNITED s'rATEs DISTRICT coURT D~c'
FOR '1‘:H:E: wESTERN DISTRICT oF TENNESSEE 95
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vl-mr\. u.\:>r. mmch
WI'D \.F" i"\'. ‘;'z,:l»§P§-§S
UNI'I‘ED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) CR. NO. 04~20498-Ma
)
RONALD JONES, )
)
Defendant. )

 

ORDER ON CONTINULNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning September 6, 2005 at 9:30 a.m., with
a report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

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IT IS SO ORDERED this day of August, 2005.

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SAMUEL H. MAYS, JR.

This doctment entered on the docket sheet in com}§'|}i-SH:EED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 59 in
case 2:04-CR-20498 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

